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  EXHIBIT G
      2:17-cv-12213-AC-SDD   Doc # 15-8   Filed 10/31/17   Pg 2 of 6   Pg ID 158
CRAIG KEITH                                                      December 02, 2016

                                                                              Page 1
 ·1· · · · · · · · · ·STATE OF MICHIGAN
 ·2· · · IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB
 ·3
 ·4· ·ROBERT CHUCHRAN, an individual,
 ·5· · · · · · · · ·Plaintiff,
 ·6· ·-vs-· · · · · · · · · · · · · · · Case No. 2016-2576-CD
 ·7· ·COUNTY OF MACOMB, a political· · ·Hon. Diane M. Druzinski
 ·8· ·Subdivision of the State; and
 ·9· ·ERIC SMITH, an individual,
 10· ·sued in his official and
 11· ·personal capacity,
 12· · · · · · · · ·Defendants.
 13· ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~/
 14· ·DEPONENT:· · ·CRAIG KEITH
 15· ·DATE:· · · · ·Friday, December 2, 2016
 16· ·TIME:· · · · ·1:06 p.m.
 17· ·LOCATION:· · ·Deborah Gordon Law
 18· · · · · · · · ·33 Bloomfield Hills Parkway, Suite 220
 19· · · · · · · · ·Bloomfield Hills, Michigan
 20
 21· ·REPORTER:· · ·John J. Slatin, RPR, CSR-5180
 22· · · · · · · · ·Certified Shorthand Reporter
 23
 24· · · · · · ·(Appearances listed on page 2)
 25

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·1·   · · · because the County is a large organization, a big          ·1·   · · · this morning.
·2·   · · · entity, with various aspects, including the sheriff's      ·2·   ·A.· ·LEIN Field Services is a component of the Michigan State
·3·   · · · department, the command center and so forth.· So, I have   ·3·   · · · Police.
·4·   · · · no idea what they have and what they control.              ·4·   · · · · · ·So, when we talk about LEIN Field Services, they
·5·   ·Q.· ·And you don't know whether you all operate under the       ·5·   · · · are under the auspice of the Michigan State Police --
·6·   · · · same auspices, the same manuals?· You don't know that?     ·6·   ·BY MS. GORDON:
·7·   ·A.· ·Well, we operate under the same program.                   ·7·   ·Q.· ·Yeah.· I knew that.
·8·   · · · · · ·Whether we operate under the same manuals because     ·8·   ·A.· ·-- so they're one and the same.
·9·   · · · the manuals have been updated, I don't know.               ·9·   ·Q.· ·I knew that.
10·   ·Q.· ·Well, did --                                               10·   ·A.· ·Okay.· I am just clarifying.
11·   ·A.· ·The most recent people that -- our LEIN operators within   11·   ·Q.· ·But let's listen to my question.
12·   · · · our office have gone to the most recent training.· When    12·   ·A.· ·Okay.
13·   · · · everybody else went to their training, such as me, back    13·   ·Q.· ·Okay?
14·   · · · in 1981, I'm sure the manual has changed.· So --           14·   ·A.· ·Sure.
15·   ·Q.· ·All I'm asking is, is it your understanding that           15·   ·Q.· ·You're all set?· John will read it?
16·   · · · there's -- the same manuals are being used countywide,     16·   ·A.· ·Sure.
17·   · · · or do you think you have a different manual than, say,     17·   ·Q.· ·Okay.
18·   · · · the sheriff's department has?                              18·   · · · · · · · (Record repeated by the reporter.)
19·   ·A.· ·No.· I think the manuals are being used statewide --       19·   ·A.· ·I don't know why I'm the contact person.· I think maybe
20·   · · · countywide and statewide.                                  20·   · · · because I, as a police officer, had contact with LEIN
21·   ·Q.· ·Has your office, the prosecutor's office, ever issued      21·   · · · Field Services in regards to a couple investigations I
22·   · · · any directives to anybody in the prosecutor's office       22·   · · · had to conduct.
23·   · · · with regard to proper usage of the LEIN system?            23·   ·BY MS. GORDON:
24·   ·A.· ·I don't know that I understand that question.              24·   ·Q.· ·Well, have you been assigned or appointed by Eric Smith
25·   ·Q.· ·Well, you've said you've got the manuals?                  25·   · · · or anybody else to be the contact person for the MSP

                                                           Page 15                                                                Page 17
·1·   ·A.· ·Correct.                                                   ·1·   · · · LEIN Field Services?
·2·   ·Q.· ·Has the prosecutor's office ever put together anything     ·2·   ·A.· ·I don't know that directly -- I've just undertaken that.
·3·   · · · in writing from the prosecutor's office, not from the      ·3·   · · · Nobody made me the official contact person, so to speak.
·4·   · · · State, telling people how to use or not use the LEIN       ·4·   · · · They just allow me to do it because of my past contacts
·5·   · · · system?                                                    ·5·   · · · with LEIN Field Services.
·6·   ·A.· ·No.· We use the LEIN manual and the LEIN guidelines.       ·6·   ·Q.· ·Well, you had some direct contact with Ms. Canfield at
·7·   ·Q.· ·What is your job responsibility vis-à-vis the LEIN         ·7·   · · · some point?
·8·   · · · system?                                                    ·8·   ·A.· ·I did.
·9·   ·A.· ·I am a LEIN operator, and I have been working in           ·9·   ·Q.· ·And you wrote a letter or letters.· So, obviously you
10·   · · · conjunction with our LEIN TAC officer to make sure that    10·   · · · didn't just take it upon yourself to do that.· Somebody
11·   · · · we are compliant with LEIN and their regulations and       11·   · · · told you to be in touch with her; correct?
12·   · · · policies.                                                  12·   ·A.· ·Yes.
13·   ·Q.· ·Why are you the person that's contacting the state         13·   ·Q.· ·And was that Eric Smith, or was that somebody else?
14·   · · · police about the LEIN usage at the County, in this case    14·   ·A.· ·I don't know that it was Eric Smith or somebody within
15·   · · · the prosecutor's office?                                   15·   · · · the administration.
16·   · · · · · ·MR. FLEURY:· Objection.· He didn't say state          16·   · · · · · ·So, somebody above me, somebody in the
17·   · · · police.                                                    17·   · · · administration, told me to contact the LEIN Field
18·   · · · · · ·But go ahead.                                         18·   · · · Services people.
19·   · · · · · ·MS. GORDON:· Well, I have a letter right in front     19·   · · · · · ·It's been some time.· I don't remember
20·   · · · of me that he wrote to the state police, Tom.· I'm         20·   · · · specifically.· So, if you're looking for a specific
21·   · · · sorry.                                                     21·   · · · name, I can't answer you.
22·   · · · · · ·MR. FLEURY:· I thought you meant this morning.        22·   ·Q.· ·What do you mean "it's been some time"?
23·   · · · · · ·MS. GORDON:· No.                                      23·   · · · · · ·When were you first told that?
24·   · · · · · ·MR. FLEURY:· Oh.                                      24·   ·A.· ·When this development first came to light.
25·   · · · · · ·MS. GORDON:· Well, he did talk to the state police    25·   ·Q.· ·And what "development" are we referring to here now?


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·1·   ·A.· ·The issues that were brought to our attention by           ·1·   ·Q.· ·And --
·2·   · · · Mr. Chuchran when he came back from TAC training.          ·2·   ·A.· ·He --
·3·   ·Q.· ·Okay.· Gotcha.                                             ·3·   ·Q.· ·Go ahead.
·4·   · · · · · ·Okay.· So, is that when you first got involved in     ·4·   ·A.· ·We worked at the Sterling Heights Police Department, and
·5·   · · · it?                                                        ·5·   · · · I last had contact with him in 1985 when I left the
·6·   ·A.· ·Yes.                                                       ·6·   · · · Sterling Heights Police Department.
·7·   ·Q.· ·Okay.· So, let me first get some background information    ·7·   ·Q.· ·Had you stayed in touch in some way or another?
·8·   · · · from you.                                                  ·8·   ·A.· ·Did not.
·9·   · · · · · ·When did you become -- excuse me one second.          ·9·   ·Q.· ·Did he contact you?· Did you contact him?· How did this
10·   · · · · · · ·(Discussion held off the record.)                   10·   · · · come about?
11·   ·BY MS. GORDON:                                                  11·   ·A.· ·We were working -- I was working a case, a homicide
12·   ·Q.· ·When did you first become employed by the prosecutor's     12·   · · · case.· He was working for the prosecutor's office, and
13·   · · · office?                                                    13·   · · · he was handling the investigator aspect for the
14·   ·A.· ·August of 2011.                                            14·   · · · presentation of the case in court.
15·   ·Q.· ·And you were retiring from where at that time?             15·   ·Q.· ·When was that, roughly?
16·   ·A.· ·Clinton Township Police Department.                        16·   ·A.· ·2010, 200- -- end of 2009, beginning 2010.
17·   ·Q.· ·And you had been there how long?                           17·   ·Q.· ·Okay.· How did you hook back up with regard to your
18·   ·A.· ·Twenty-six years.                                          18·   · · · decision to retire from the police department --
19·   ·Q.· ·And what was your rank when you left?                      19·   ·A.· ·Uh-huh.
20·   ·A.· ·I was the detective lieutenant.                            20·   ·Q.· ·-- and your decision that you were going to either seek
21·   ·Q.· ·Okay.· And how long had you held that position and rank?   21·   · · · or obtain employment from the prosecutor's office?
22·   ·A.· ·I held the rank for ten years, and I was a detective       22·   ·A.· ·That had been a thought process I've had for five, six,
23·   · · · lieutenant for seven of those ten years.                   23·   · · · seven years prior to my retirement.· I had ongoing
24·   ·Q.· ·Okay.· And when did you first get to know Eric Smith?      24·   · · · conversations with Ms. Therese Tobin during that course
25·   ·A.· ·I don't know.· I knew of Eric Smith.· I don't know that    25·   · · · and let her know that if a position became available, I

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·1·   · · · I ever got to know Eric Smith until later in my career     ·1·   · · · would be interested in that position.
·2·   · · · from bringing cases up to the prosecutor's office.         ·2·   ·Q.· ·Ms. Tobin is an APA?
·3·   ·Q.· ·Okay.                                                      ·3·   ·A.· ·No longer.
·4·   ·A.· ·I never had a personal relationship with Eric Smith.       ·4·   ·Q.· ·She was at the time?
·5·   ·Q.· ·Okay.· But at some point you got to know him?              ·5·   ·A.· ·She was.
·6·   · · · · · ·You were in law enforcement.· He was doing what he    ·6·   ·Q.· ·Yeah.· Okay.
·7·   · · · was doing.                                                 ·7·   · · · · · ·And did she eventually let you know, or did
·8·   ·A.· ·I would see him occasionally.· We would say, "Hi," meet    ·8·   · · · somebody else let you know?
·9·   · · · and greet in the hallway-type things, and that's pretty    ·9·   ·A.· ·I don't know who -- she let me know, but also -- Byron
10·   · · · much about it.                                             10·   · · · Satterly let me know also.
11·   ·Q.· ·And what was your last day with the Clinton Township       11·   ·Q.· ·Okay.· And when you heard there was an opening, is that
12·   · · · P.D.?                                                      12·   · · · when you decided this would be a good time for me to
13·   ·A.· ·8-8 of 2011.                                               13·   · · · retire and take advantage of a potential opportunity?
14·   ·Q.· ·Okay.· So, you had this job lined up with the              14·   ·A.· ·The economy forced my retirement and contracts forced my
15·   · · · prosecutor's office, obviously, by the time you left the   15·   · · · retirement.· So --
16·   · · · P.D.; correct?                                             16·   ·Q.· ·I'm sorry?
17·   ·A.· ·That's correct.· I tested and -- yes, uh-huh.              17·   ·A.· ·The economy and contracts with the Clinton Township
18·   ·Q.· ·Yeah.                                                      18·   · · · Police forced my retirement.
19·   · · · · · ·And was your original contact for this position to    19·   ·Q.· ·In what regard?
20·   · · · begin the process with Eric Smith?                         20·   ·A.· ·Things were being taken away from law enforcement
21·   ·A.· ·No, it wasn't.                                             21·   · · · officers.· We were coming to the end of a very
22·   ·Q.· ·Who was it with?                                           22·   · · · productive contract.· And I knew long-term I wouldn't be
23·   ·A.· ·Byron Satterly.                                            23·   · · · there to recoup the losses that they were getting ready
24·   ·Q.· ·And did you know Mr. Satterly previously?                  24·   · · · to impose, so I chose other employment.
25·   ·A.· ·Yes.                                                       25·   ·Q.· ·What were the losses, briefly?


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·1·   · · · maintains agency terminal operator certification and       ·1·   ·A.· ·Prior to this incident?
·2·   · · · recertification testing; correct?                          ·2·   ·Q.· ·What do you mean by "this incident"?
·3·   ·A.· ·That is correct.                                           ·3·   ·A.· ·Well, Bob becoming TAC.
·4·   ·Q.· ·So, Bob would be responsible for being sure, when he was   ·4·   ·Q.· ·Yes.
·5·   · · · in that role, that people were properly certified;         ·5·   ·A.· ·Prior to Bob becoming TAC?
·6·   · · · correct?                                                   ·6·   ·Q.· ·Yes.· Yes.
·7·   ·A.· ·Correct.                                                   ·7·   ·A.· ·I honestly don't recall.
·8·   ·Q.· ·And also the LEIN officer coordinates the agency audit     ·8·   ·Q.· ·And when Bob returned from TAC, he voiced his concern
·9·   · · · with LEIN auditing staff; correct?                         ·9·   · · · that there were things the office was doing that were
10·   ·A.· ·That is correct.                                           10·   · · · not proper; correct?
11·   ·Q.· ·And how often are you audited?                             11·   ·A.· ·Yes.
12·   ·A.· ·I believe we have a self-reporting audit yearly and an     12·   ·Q.· ·Okay.· And what were the things you recall him
13·   · · · on-site audit every three years.                           13·   · · · mentioning that needed to be corrected?
14·   ·Q.· ·Okay.· Okay.· So, Bob then went off to training,           14·   ·A.· ·We were keeping the LEIN in files that had been closed.
15·   · · · correct, after he was selected?                            15·   · · · We were running LEIN in our office for outside agencies
16·   ·A.· ·Bob received training.· Correct.                           16·   · · · when they came up for warrant requests, if they didn't
17·   ·Q.· ·And how long is the training?                              17·   · · · have it done.
18·   ·A.· ·That, I do not know.                                       18·   ·Q.· ·Such as what outside agency?· Can you just give me --
19·   ·Q.· ·This was out-of-the-office training?                       19·   ·A.· ·Other law enforcement agencies throughout the county.
20·   ·A.· ·Yes.                                                       20·   ·Q.· ·Okay.
21·   ·Q.· ·And you said you met with him after he started raising     21·   ·A.· ·There's a third one.· It's escaping me now, so let me --
22·   · · · issues upon return from training; correct?· Or after he    22·   · · · please give me a minute.
23·   · · · became a TAC officer?                                      23·   ·Q.· ·Uh-huh.
24·   ·A.· ·Can you be more specific?                                  24·   ·A.· ·The filing in closed cases, outside LEIN, and the third
25·   ·Q.· ·I'm just going with what you told me a little bit          25·   · · · one is escaping me now.· I hope it will come to me. I

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·1·   · · · earlier in the deposition.                                 ·1·   · · · can't remember.
·2·   · · · · · ·You said you met with Bob after he became a TAC       ·2·   ·Q.· ·What about fingerprinting?
·3·   · · · officer.· We were going through the counseling.· I was     ·3·   ·A.· ·I don't remember him bringing fingerprinting issues. I
·4·   · · · asking about counseling.                                   ·4·   · · · don't remember that.
·5·   · · · · · ·MR. FLEURY:· Right.                                   ·5·   ·Q.· ·That doesn't ring a bell with you?
·6·   ·A.· ·Bob came to see me.                                        ·6·   ·A.· ·Not at that time.
·7·   ·BY MS. GORDON:                                                  ·7·   ·Q.· ·Well, when did you become aware that Bob was taking the
·8·   ·Q.· ·Okay.                                                      ·8·   · · · position that anybody using the LEIN system needed to be
·9·   · · · · · · ·(Discussion held off the record.)                   ·9·   · · · fingerprinted?
10·   ·BY MS. GORDON:                                                  10·   ·A.· ·I didn't know that Bob ever took that position with me.
11·   ·Q.· ·Now, at the time Bob became a TAC officer, had you         11·   · · · I don't recall him telling me that.
12·   · · · previously worked with Liz Canfield or anybody else from   12·   ·Q.· ·Well, at some point after Bob became a TAC officer, the
13·   · · · the Michigan State Police with regard to the LEIN          13·   · · · prosecutor's office decided they better get everybody
14·   · · · operation?                                                 14·   · · · fingerprinted, and that wasn't that long ago.
15·   ·A.· ·In any capacity?                                           15·   · · · · · ·Do you recall that?
16·   · · · · · ·Yes, I've worked with Liz in LEIN -- from LEIN        16·   ·A.· ·But that had nothing to do with Bob.· That was at the
17·   · · · Field Services in other investigations I've conducted.     17·   · · · recommendation and suggestion of the current TAC
18·   ·Q.· ·And in what regard?                                        18·   · · · officer, James Hall.
19·   ·A.· ·The misuse of LEIN by law enforcement officers.            19·   ·Q.· ·Okay.· So, then you didn't get the memo, I guess, that
20·   ·Q.· ·Was there an investigation being done?                     20·   · · · Bob literally put in writing that people had to be
21·   ·A.· ·During my time as a lieutenant with the Clinton Township   21·   · · · fingerprinted?
22·   · · · Police, yes.                                               22·   ·A.· ·I don't recall seeing that document.
23·   ·Q.· ·Okay.· But I'm talking about once you got to the           23·   ·Q.· ·Okay.· So, I'll read you a letter from Bob Chuchran to
24·   · · · prosecutor's office, had you had any dealings with Liz     24·   · · · the state police.
25·   · · · Canfield?                                                  25·   · · · · · ·MR. FLEURY:· Well, can you give him the date?


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·1·   ·Q.· ·-- that everybody needed to be fingerprinted who was       ·1·   ·A.· ·We have a misunderstanding, a miscommunication about
·2·   · · · working with the LEIN.                                     ·2·   · · · what meeting we're speaking of.
·3·   · · · · · ·Did you become aware of that?                         ·3·   ·Q.· ·Okay.· When was -- what meeting was Bob Chuchran removed
·4·   ·A.· ·I was not aware of that.                                   ·4·   · · · as TAC officer?
·5·   ·Q.· ·You don't deny it here today under oath, do you, that he   ·5·   ·A.· ·I did not remove Bob Chuchran as TAC officer.
·6·   · · · did that?                                                  ·6·   ·Q.· ·Okay.· Well, the record is going to show that you said
·7·   ·A.· ·I don't know what he did with Shelly.                      ·7·   · · · on the record he was removed from his position at that
·8·   ·Q.· ·Okay.· So, what was your role when Bob returned from TAC   ·8·   · · · meeting.
·9·   · · · training in finding out what his concerns were?            ·9·   · · · · · ·MR. FLEURY:· I object.· That is not what it says at
10·   ·A.· ·I didn't have a role.· Bob voiced his concerns to me and   10·   · · · all.
11·   · · · Byron Satterly, and we started addressing his concerns.    11·   ·A.· ·Right.· If -- I don't believe that's what it says, but
12·   ·Q.· ·Okay.· And you knew that Bob was being referred to by      12·   · · · if I did say that, I misspoke, because I did not remove
13·   · · · some people, at least, as "the LEIN Nazi" upon his         13·   · · · Bob as the TAC officer.
14·   · · · return from TAC training; correct?                         14·   ·BY MS. GORDON:
15·   ·A.· ·I had not heard him referred to as that.                   15·   ·Q.· ·Who did?
16·   ·Q.· ·You're not denying it here today, that people called him   16·   ·A.· ·Chief Satterly.
17·   · · · that, are you?                                             17·   ·Q.· ·And you knew about it in advance, though, didn't you,
18·   ·A.· ·I have no idea what other people called Bob.               18·   · · · before it happened?
19·   ·Q.· ·Okay.· You knew that people were not happy, some people,   19·   ·A.· ·Yes.
20·   · · · that Bob was bringing back issues regarding the LEIN       20·   ·Q.· ·And when did you learn about that?
21·   · · · that were going to cause additional work?                  21·   ·A.· ·I don't have a date or a month.· I know it was after
22·   ·A.· ·No, that's not true.                                       22·   · · · Chief Satterly and I discussed it.
23·   ·Q.· ·Okay.· All right.· So, what is your meeting with Bob       23·   ·Q.· ·Okay.· And this was after Bob came back from the TAC
24·   · · · about now?                                                 24·   · · · training and explained to you -- this is after that
25·   · · · · · ·MR. FLEURY:· Now, which meeting?                      25·   · · · meeting?

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·1·   · · · · · ·MS. GORDON:· The only one he had.                     ·1·   ·A.· ·No.· It was after Bob was going around the office,
·2·   · · · · · ·MR. FLEURY:· No.· He had a meeting when he had his    ·2·   · · · creating an uneasy environment, telling people they were
·3·   · · · concerns.· Then he had a meeting afterwards when he was    ·3·   · · · committing felonies because of the LEIN violations he
·4·   · · · removed from TAC.                                          ·4·   · · · had learned of.
·5·   · · · · · ·Which meeting?                                        ·5·   ·Q.· ·And when was that?
·6·   · · · · · ·MS. GORDON:· It's the same meeting, sir.              ·6·   ·A.· ·After he came back from TAC training, which I don't
·7·   · · · · · ·MR. FLEURY:· No, it isn't.· There were two            ·7·   · · · recall the month.· You provided me with the month of
·8·   · · · meetings.                                                  ·8·   · · · January, so it was sometime after January 2015.
·9·   ·A.· ·No, there were -- Bob --                                   ·9·   ·Q.· ·Okay.· So, you never heard Bob called a "LEIN Nazi."
10·   ·BY MS. GORDON:                                                  10·   · · · · · ·Who did you hear him say they were committing a
11·   ·Q.· ·Okay.· Let's go through it, then.                          11·   · · · felony?
12·   ·A.· ·Sure.                                                      12·   · · · · · ·So, now, I mean, I'll -- what?· You're overhearing
13·   · · · · · ·Bob met with myself and Byron Satterly, the chief,    13·   · · · this out of your own ears?
14·   · · · when he came back from TAC about his concerns for LEIN.    14·   ·A.· ·People had come to me with concerns.
15·   ·Q.· ·And then you called him in for a separate meeting?         15·   ·Q.· ·Okay.· Okay.· Who were those people, sir?
16·   ·A.· ·I did not call Bob in for a separate meeting.              16·   ·A.· ·Michelle McLaughlin.
17·   ·Q.· ·He came in to see you?                                     17·   ·Q.· ·Who is she?
18·   ·A.· ·He came in to see me.                                      18·   ·A.· ·She's a support staff.
19·   ·Q.· ·What was he coming in to see you about?                    19·   · · · · · ·Specifically, her; Mike Torey.
20·   ·A.· ·Well, ultimately, from the conversation, he had been       20·   ·Q.· ·I'm sorry.· What support staff role does she have?
21·   · · · removed from LEIN, and he wanted to have the LEIN          21·   ·A.· ·Presently, she -- I don't know what her --
22·   · · · position returned to him.                                  22·   ·Q.· ·No, no.· At the time.· At the time.
23·   ·Q.· ·You said he was removed from LEIN at the meeting.          23·   ·A.· ·She was support staff.· I don't know what court she
24·   · · · That's what you said under oath.· It's here on the         24·   · · · handles.· She -- staff handles courts.· I don't know
25·   · · · record.                                                    25·   · · · what courts she's handled.


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